







		NO. 12-08-00193-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: ECGC, INC.

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


PER CURIAM


	Relator ECGC, Inc. has filed a motion to dismiss its petition for writ of mandamus.  ECGC
states that the parties have resolved their dispute and have fulfilled their responsibilities under the
settlement agreement.  Therefore, its petition for writ of mandamus is now moot.  Because ECGC
has met the requirements of Texas Rule of Appellate Procedure 42.1(a)(1), the motion is granted,
and the petition for writ of mandamus is dismissed.  

Opinion delivered November 12, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.







(PUBLISH)


